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W\ -D~ OP TN. M§MFH`§
LARRY LLOYD,
Petitioner,
No. 02~2635 Ma/V
UNITED STATES OF AMERICA,

Respondent.

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ORDER DENYING PETITION TO VACATE, SET ASIDE, OR CORRECT SENTENCE

 

On October 17, 2000, Petitioner was charged in a two-count
indictment for l) possession with intent to distribute three pounds
of methamphetamine, in violation of 21 U.S.C. § 841(a}(l), and 2)
use of a firearm during and in furtherance of a drug trafficking
crime, in violation of 18 U.S.C. § 924(€). On March 7, 2001,
pursuant to a plea agreement, Petitioner pleaded guilty to Count l
of the indictment. The plea agreement provided that the United
States (“the government”) would dismiss Count 2 of the indictment
and would not use any self-incriminating information provided by
Petitioner to enhance his sentence or to bring any additional
criminal charges. The plea agreement further provided that

Petitioner had not been promised a specific sentence and that the

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sentence would be calculated by the court according the United
States Sentencing Guidelines.

After Petitioner pleaded, guilty' to Count One, the court
sentenced him below the guideline range and below the statutory
minimum. The court, however, assessed a two-point enhancement for
possession of a firearm, the substantive allegation of Count 2,
under Section 2Dl.1(b)(l) of the Sentencing Guidelines. Petitioner
claims that this assessment violated his plea agreement and was
based on facts that had not been found by a jury beyond a
reasonable doubt. Although the claim is disputed, Petitioner avers
that he specifically requested that his attorney file an appeal of
the sentence enhancement and that his attorney denied the request
and advised Petitioner that he had no appellate rights. Petitioner
brings the instant action under 28 U.S.C. § 2255 based, in part, on
the alleged ineffective assistance of counsel under the Sixth
Amendment.

“The failure to perfect a direct appeal, in derogation of a
defendant’s actual request, is a per §§ violation of the Sixth
Amendment,” regardless of whether or not the appeal would have been
successful. Ludwiq v. United States, 162 F.3d 456, 459 (6th Cir.
1998)(deciding motion to vacate under 28 U.S.C. § 2255). In such
situations, a claimant is not required to make the normal showing
of deficient performance and prejudice to state a claim of

ineffective assistance of counsel under the Sixth Amendment. Id.

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When an appeal has been denied in such a manner, the proper relief
is to grant the defendant a delayed appeal. §§§ id;

A critical element in this analysis, however, is the actual
request for an appeal on the part of the defendant. ld; “The
Constitution does not require lawyers to advise their clients of
the right to an appeal. Rather, the Constitution is only
implicated when a defendant actually requests an appeal, and his
Counsel disregards the request.” ld; Petitioner alleges that he
“discussed the firearm enhancement and specifically requested (in
the presence of witnesses), that counsel file an appeal of the
enhancement application.” (Petition at 4.) He has not, however,
sworn. to this statement under~ penalty‘ of perjuryg nor~ has he
offered any other evidence supporting his contention. The
government submits the sworn affidavit of attorney Larry Copeland,
stating that he represented Petitioner in the underlying criminal
proceeding and that “[a]t no time, did Larry Lloyd or anyone else
ask me to file a notice of appeal on Larry Lloyd’s behalf in Case
No. OO-ZOZOO(G}.” (Copeland Aff. q 3.) Thus, before the court is
credible evidence that Petitioner never actually requested that his
attorney file an appeal on his behalf, with no countervailing
evidence other than Petitioner's unsworn allegations. Petitioner,
therefore, has not established a per §§ Sixth Amendment violation.

Because Petitioner has not established per §§ ineffective

assistance of counsel, he must show that “counsel's performance was

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deficient and that the deficient performance was prejudicial.”
Ratliff v. United States, 999 F.Zd 1023, 1026 (6th Cir.
1993)(citing Strickland v. Washington, 466 U.S. 668, 687 (1984)).
Petitioner claims that his sentence was erroneous for two reasons:
l) the weapons enhancement violated his plea agreement, and 2) the
weapons enhancement was based on facts not found by a jury beyond
a reasonable doubt. Petitioner cannot establish that failure to
object or to appeal the enhancement was erroneous or prejudicial in
either respect.

Plaintiff’s contention notwithstanding, the court can locate
no provision in the plea agreement that prohibits the government
from introducing evidence that Petitioner possessed a gun during
his drug-trafficking offense. The government agreed to dismiss
Count 2 {the firearm charge), which it did. The plea agreement
states that “[b]oth parties understand and acknowledge that the
sentence in this matter will be calculated pursuant to the United
States Sentencing Guidelines Manual.” (T 2.) The agreement further
provides that “to the extent that it was unknown to the government,
any self-incriminating information provided by [Petitioner]
pursuant to [a prior Proffer Agreement] will not be used to enhance
the applicable guideline sentencing range ....” (Id.) Petitioner
has not alleged or shown that the evidence used to support the
weapons enhancement was either self-incriminating or unknown to the

government when the plea agreement was signed. Thus, the weapons

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enhancement did not violate the plea agreement.

Likewise, counsel's alleged failure to object or to appeal on
the ground that the enhancement violated Petitioner's Sixth
Amendment right to a trial by' jury' was neither erroneous nor
prejudicial. Because the time within which Petitioner Could have
filed an appeal has long expired, his conviction is final. §ee Fed.
R. App. P. 4(b)(1)(A); Sanchez-Castellano v. U.S., 358 F.3d 424,
(6th Cir. 2004)(holding that, for purposes of 28 U.S.C. § 2255, an
unappealed district court conviction becomes final ten days after
entry of judgment). At the time of Petitioner’s sentencing, Q¢§;
v. Booker, - U.S. -, 125 S. Ct. 738 (2005) had not yet been
decided, and the Sixth Circuit has expressly held that Booker does
not apply retroactively. See Humphress v. U.S., 398 F.3d 860, 862-
63 (6th Cir. 2005). Thus, Petitioner cannot show that, at the time
of his sentencing, a failure to file a Booker objection constituted
an error of constitutional magnitude on the part of his counsel, or
that an objection on that ground would have been successful at the
appellate level. §§e U.S. v. Koch, 383 F.3d 436 (6th Cir. 2004).

For the foregoing reasons, the petition is DENIED without
prejudice.

so ORDERED this /°)£\da af J?ne 2005.

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SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DIS'I'RICT JUDGE

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This notice confirms a copy of the document docketed as number 23 in
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Honorable Samuel Mays
US DISTRICT COURT

